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                IN THE UNITED STATES DISTRICT COURT
                   NORTHERN DISTRICT OF GEORGIA
                         ATLANTA DIVISION

BERKELEY VENTURES II, LLC

             Plaintiff,
                                                Civil Action File No.
v.                                              1:19-cv-05523-ODE

SIONIC MOBILE CORPORATION and
RONALD D. HERMAN,

             Defendants.


                 MEMORANDUM IN SUPPORT OF
          SIONIC MOBILE CORPORATION’S MOTION TO
     DISQUALIFY BUSCH, SLIPAKOFF, MILLS & SLOMKA, LLC AS
                    COUNSEL OF RECORD

       Defendant Sionic Mobile Corporation (“Sionic”) respectfully submits

that this Court should grant its Motion to Disqualify Busch, Slipakoff, Mills

& Slomka, LLC (“Busch Slipakoff”) as counsel of record to Plaintiff Berkeley

Ventures II, LLC (“Berkeley”) due to Adam Slipakoff’s (“Slipakoff”) conflicting

roles as both Sionic’s former outside general counsel and Busch Slipakoff’s

Managing Partner. Ethically, a lawyer may not disadvantage a prior

representation in favor of a subsequent conflicting representation on

substantially the same subject matter. Even if the conflicted lawyer is not

directly involved in the subsequent representation, the taint of conflict will



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nonetheless act to disqualify that lawyer’s entire law firm from the

subsequent representation. Such is the case here.

      As a matter of law, Slipakoff’s conflicting representation of Sionic

taints Busch Slipakoff’s present representation of Berkeley, rendering Busch

Slipakoff’s disqualification appropriate and necessary. Respectfully, Sionic

requests that this Court grant this Motion.

                          STATEMENT OF FACTS

      Sionic is a leading innovator in the area of FinTech and in deriving

software and payment processing solutions in response to some of the more

pressing problems confronting the industry. Based on research into available

public information, Slipakoff is partner in several law firms, including, as

pertinent to this Motion, Busch Slipakoff and Slipakoff LLP.1 These firms

share significant partners in common, including Slipakoff, Howard Slomka,

and Bryan E. Busch, the lead lawyer for Berkeley.2

      Busch Slipakoff’s website describes Slipakoff as Managing Partner,

Mergers and Acquisitions Chair, and Corporate and Securities Chair.3

Meanwhile, Slipakoff LLP’s website lists Slipakoff as a Partner and describes


1 Affidavit of Simon Jenner at para. 3, dated January 30, 2020, attached and
incorporated as Exhibit A (“Jenner Aff.”) to this Memorandum.
2 Simon Aff. at para. 4.
3 Simon Aff. at para. 5.



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his principal areas of concentration as including venture capital, corporate

transactions, and mergers and acquisitions.4 Busch is described as a Partner

in Busch Slipakoff and as its Litigation Chair, with a specialization in

investments and securities.5

      Sionic first became aware of Slipakoff LLP on December 1, 2015, in

regard to donations of Sionic stock that Patrick Gahan (“Gahan”), a Sionic

stockholder and Board member, wanted to make to several foundations and

charities.6 To help facilitate the donation, Slipakoff LLP, as Gahan’s lawyers,

requested a division of an existing Sionic stock certificate into multiple

smaller certificates, which Sionic did.7

      On or about December 4, 2015, Gahan introduced Slipakoff to Sionic as

potential counsel, which resulted in email correspondence between Ronald D.

Herman, Sionic’s Chief Executive Officer, and Slipakoff, and a further

meeting at Slipakoff’s office.8 At that meeting, Slipakoff promoted his ability

to represent Sionic in regard to investments and securities law, in addition to




4 Simon Aff. at para. 5.
5 Simon Aff. at para. 6.
6 Affidavit of Ronald D. Herman at para. 4, dated January 28, 2020, attached

and incorporated as Exhibit B (“Herman Aff.”) to this Memorandum.
7 Herman Aff. at para. 5.
8 Herman Aff. at para. 6.



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various merger and acquisition opportunities.9 Slipakoff also explained his

ability to introduce potential investors to Sionic and expressed interest in

becoming an investor himself.10 In response, Herman discussed with

Slipakoff the scope and scale of representation that Sionic wanted, including

support on mergers and acquisitions and, more importantly, in regard to

Sionic’s securities as Sionic was in the process of raising capital and wanted

to ensure it was compliant with applicable laws and regulations.11

      Subsequently, Herman confirmed Sionic’s intention to engage Slipakoff,

specifying a need to evaluate the influence of potential transactions on

Sionic’s Series B filing and associated changes to the capitalization table.12

Internally, Herman instructed Sionic personnel to begin coordinating with

Slipakoff as general counsel on pending assignments and contract review.13

      On December 8, 2015, Slipakoff and Sionic entered into an Attorney-

Client Representation agreement, under which Slipakoff confirmed that “we

have been engaged to represent Sionic Mobile Corporation . . . in regard to




9 Herman Aff. at para. 7.
10 Herman Aff. at para. 8.
11 Herman Aff. at para. 9.
12 Herman Aff. at para. 10.
13 Herman Aff. at para. 11.



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various corporate matters.”14 Slipakoff thus was, and was understood to be,

Sionic’s outside general counsel.15

      The next day, Herman consulted with Slipakoff regarding Sionic’s

proposed Series B investment, disclosures, Form D filings with the U.S.

Securities and Exchange Commission, and stock warrants, as confirmed by

Slipakoff’s subsequent invoice to Sionic.16 In support of this and other

corporate efforts, Sionic shared significant sensitive confidential information

with Slipakoff, including on certain pending and planned business

transactions, proposed uses for capital, potential target investors and funding

sources, securities offerings and series and associated draft agreements and

documentation, business plans, and draft and anticipated promotional and

solicitation materials.17

      At about this time and further to Slipakoff’s request, Sionic transmitted

Warrants for Slipakoff to execute, which upon exercise would have entitled

Slipakoff to become a direct holder of Sionic stock.18 By email dated

December 11, 2015, Slipakoff confirmed that he had signed the Warrants



14 Herman Aff. at para. 12.
15 Herman Aff. at para. 13.
16 Herman Aff. at para. 14.
17 Herman Aff. at para. 15.
18 Herman Aff. at para. 16.



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(although had not yet funded them) and offered to introduced Sionic to a high

net worth friend he thought an appropriate investor.19 To assist with this

introduction, Slipakoff requested various sensitive internal corporate

information, including Sionic’s Private Placement Memorandum, pro forma

spreadsheets, including for 2016, and historical financials.20 Slipakoff

acknowledged that his friend would need to execute a nondisclosure

agreement as a condition to receiving this information.21

      Slipakoff ultimately failed to fund the Warrants, leading Herman to

express his concern for the legal consequences of the delay, although he

confirmed that he was still very excited about Slipakoff having taken over

Sionic’s “securities work.”22 Slipakoff responded that he was incredibly

thankful that his failure to fund the Warrants had not tainted Herman’s view

of Slipakoff or his firm’s value.23 Slipakoff assured that he would continue to

“be a vocal evangelist for Sionic,” and said that he had several private equity

firms and various high net worth investors whom he thought would be good

prospective investors in Sionic.24


19 Herman Aff. at para. 17.
20 Herman Aff. at para. 18.
21 Herman Aff. at para. 19.
22 Herman Aff. at para. 20.
23 Herman Aff. at para. 21
24 Herman Aff. at para. 22.



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      On January 6, 2016, Slipakoff offered to introduce Sionic to a potential

partner for Sionic’s technology.25 In response, Herman sent Slipakoff a brief

overview of Sionic’s platform, asking Slipakoff to review the document to

ensure it was acceptable.26 Later that day, Slipakoff made the introduction,

extolling the virtues of Sionic’s technologies and capabilities and even

suggesting ways in which Sionic might imbed in the potential partner’s

business to improve overall margins and operations.27

      On July 12, 2016, Slipakoff requested, and Sionic provided, an updated

business plan and financials. Sionic subsequently stopped sending Slipakoff

legal work on or about August 2016.28 Amongst other reasons, Sionic decided

to cease using Slipakoff’s services because he failed to provide the level of

responsive and sophisticated representation that he had assured Herman

was within his competence.29

      Approximately 14 months later, Berkeley became an investor in

Sionic.30 In so doing, Berkeley reviewed financials, promotional and

investment materials, and other documents that were either shared with


25 Herman Aff. at para. 23.
26 Herman Aff. at para. 24.
27 Herman Aff. at para. 25.
28 Herman Aff. at para. 26.
29 Herman Aff. at para. 27.
30 Herman Aff. at para. 28.



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Slipakoff incident to representation or upon which Slipakoff’s advice was

requested.31 Slipakoff reviewed and provided advice in regard to the form

documents that were ultimately used by Sionic drafting the Subscription

Agreement, Investor Questionnaire, Amended and Restated Shareholder

Agreement, and Joinder to Shareholder Agreement that are referenced in

Berkeley’s Complaint.32

      Slipakoff never consulted with or informed Sionic of Berkeley’s

intention to sue Sionic before it did so.33 Nor did Slipakoff seek, and Sionic

did not provide, a waiver of conflict.34

              ARGUMENT AND CITATION OF AUTHORITY

      A lawyer cannot represent a client if there is a significant risk that the

lawyer’s duties to a former client will materially and adversely affect the

representation. Dodson v. Floyd, 529 F.Supp. at 1060 (N.D. Ga. 1981); Ga. R.

Prof. Conduct 1.7, Comment 4 (“loyalty to a client prohibits undertaking

representation directly adverse to that client without that client’s informed

consent”). Disqualification is thus required for any lawyer who purports to

represent a current client against a former client in a matter that is


31 Herman Aff. at para. 28.
32 Herman Aff. at para. 29.
33 Herman Aff. at para. 30.
34 Herman Aff. at para. 30.



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substantially related to the prior representation. Shuttleworth v. Rankin-

Shuttleworth of Ga., LLC, 759 S.E.2d 873, 876 (Ga. Ct. App. 2014); Ga. R.

Prof. Conduct 1.9(a).

      A plaintiff’s right to counsel of choice, while significant, is not inviolate,

and must be balanced against the ethical considerations governing the

practice of law, including the impermissible appearance of impropriety,

potential and actual conflicts of interest, protection of a former client’s

confidences, and preservation of the integrity of the judicial system.

Shuttleworth, 759 S.E.2d at 876; Humphrey v. State, 537 S.E.2d 95, 98 (Ga.

Ct. App. 2000) (holding that the rules against successive representation are

intended to preserve client confidences and secrets). “The circumstance of

representing a client against a former client in an action that is of the same

general subject matter, and grows out of an event that occurred during the

time of such representation, creates an impressible appearance of

impropriety.” Shuttleworth, 759 S.E.2d at 876.

      A party seeking disqualification must show that the former

representation had both material and logical connections to the pending

litigation. Shuttleworth, 759 S.E.2d at 876. “[W]hether there is a substantial

relationship turns on the possibility, or the appearance thereof, that

confidential information might have been given to the attorney in relation to

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the subsequent matter in which disqualification is sought.” Dodson, 529

F.Supp. at 1060. The party seeking disqualification is not required to point to

specific confidences revealed to his attorney that are relevant to the pending

case. Humphry v. State, 537 S.E.2d at 98.

      Upon proof that the pending representation and former representation

are related and adverse, doubts as to the existence of an asserted conflict of

interest should be resolved in favor of disqualification. Dodson, 529 F.Supp.

at 1061. All lawyers associated with the conflicted lawyer in a law firm are

equally and imputably disqualified. Amoco Chemicals Corp. v. MacArthur,

568 F.Supp. 42, 46 (N.D. Ga. 1983) (holding that the “mandate of affiliate

disqualification is entirely prophylactic . . . designed to prevent behavior not

because the behavior is intrinsically improper but because it involves the risk

of impropriety”); Ga. R. Prof. Conduct 1.10(a).

      Applying these standards, Busch Slipakoff should be disqualified from

representing Berkeley for three reasons. First, Slipakoff’s prior

representation of Sionic taints Busch Slipakoff’s current representation of

Berkeley, requiring Busch Slipakoff’s disqualification from this matter.

Second, Busch Slipakoff was previously disqualified as plaintiff’s counsel in

another case under facts analogous to those at issue here, which

demonstrates a pressing need for Busch Slipakoff to be promptly removed

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from this matter. And third, the Complaint necessarily implicates Slipakoff

as both a fact-witness and prior counsel, disqualifying both him and Busch

Slipakoff from representing Berkeley in this matter.

   I.     Slipakoff’s prior representation of Sionic taints Busch

          Slipakoff’s current representation of Berkeley, requiring

          Busch Slipakoff disqualification from this matter.

        The evidence shows that Slipakoff served as Sionic’s outside general

counsel, a role that covered a range of business, investment and securities

matters. For example, under the Attorney-Client Representation agreement

Slipakoff became Sionic’s outside general counsel, responsible for corporate,

transactional, and securities-related matters. Correspondence between

Herman and Slipakoff confirms that Slipakoff was consulted on Sionic’s

proposed Series B investment, corporate disclosures, Form D filings with the

U.S. Securities and Exchange Commission, and stock warrants. Sionic also

consulted Slipakoff in regard to the form agreements and documents that

were ultimately used by Sionic to memorialize the Berkeley transaction. And

Slipakoff actively promoted Sionic to wealthy friends, private equity firms,

potential investors, and the broader marketplace as an “evangelist” for the

corporation and its technology. Incident to this representation, Sionic shared




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sensitive confidential information with Slipakoff, including memoranda, pro

forma spreadsheets, historical financials, and business plans.

      Given these facts, it is evident that Berkeley’s Complaint addresses the

same general subject matter as Slipakoff’s prior representation of Sionic. For

example, the Complaint references the Series B Securities, Form D filings

and promotional materials and efforts on which Slipakoff advised Sionic for

2015 and 2016 and in which Slipakoff actually participated, but which

Berkeley now alleges as a basis for its purported fraud claims.35 The

Complaint alleges matters in regard to which Slipakoff acted as counsel to

Sionic for the relevant period, including stock valuations, warrants, warrant

exercise prices, and stock acquisition opportunities.36 The Complaint

references “schemes,” “devices,” and deceptive promotional efforts in which

Slipakoff was himself personally involved.37 The Complaint even attacks the

stock donations upon which Slipakoff’s law firm advised and on which it

sought and obtained Sionic’s cooperation.38




35 Verified Complaint for Damages, Doc. 1 (“Complaint”), para. 12, 13, 15, 23.
36 Complaint, para. 13.
37 Complaint, para. 42 (due to an error in the Complaint, the second

paragraph bearing that number).
38 Complaint, para. 17-18.



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         There is, accordingly, a substantial overlap between Slipakoff’s prior

representation of Sionic and Busch Slipakoff’s current representation of

Berkeley in regard to matters and events on which Slipakoff provided

consultation and advice to Sionic. The record is equally clear that Slipakoff

was previously Sionic’s outside general counsel and is now Busch Slipakoff’s

Managing Partner and Corporate and Securities Chair.

         Based on these facts, Slipakoff’s prior representation of Sionic taints

Busch Slipakoff, and thus prohibits Busch Slipakoff’s representation of

Berkeley, which is not only in conflict with that prior representation but also

threatens exposure of Sionic’s confidences and secrets. Dodson v. Floyd, 529

F.Supp. 1060-1061; Humphrey, 537 S.E.2d at 98. Respectfully, it is

appropriate that this Court disqualify Busch Slipakoff as Berkeley’s lawyers.

   II.      Busch Slipakoff was previously disqualified as plaintiff’s

            counsel under facts analogous to those at issue here.

         The United States District Court for the Northern District of Georgia

has found it necessary to disqualify Busch Slipakoff on at least one other

occasion, under circumstances similar to this matter. In Marcelino Solis v.

The Taco Maker, Busch Slipakoff, acting as plaintiff’s counsel, sued the

defendants despite one of Busch Slipakoff’s attorneys having previously

represented those defendants in a substantially related matter. Marcelino,

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Case No. 1:2009-cv-03293 - Document 74 (“Document 74”) at 13 (N.D. Ga.

June 2, 2011).39

      In moving to disqualify Busch Slipakoff, the defendants adduced an

engagement letter confirming they had previously employed one of plaintiff’s

lawyers in regard to a possible recapitalization and refinancing of the

company, and also corporate governance and other general matters.

Marcelino, Case No. 1:2009-cv-03293 - Document 43 (“Document 43”) at 6

(N.D. Ga. Feb. 15, 2011).40 In light of the engagement and general course of

dealing between the defendants and the conflicted lawyer, the Court found an

employment relationship, and thus attorney-client relationship, existed

between the conflicted lawyer and the defendants. Marcelino, Document 43 at

6-7; Marcelino, Document 74 at 14.

      In view of these facts, the Court found it necessary to grant defendant’s

motion to disqualify Busch Slipakoff. Marcelino, Document 43 at 14.

Marcelino, Document 74 at 14 (quoting Crawford W. Long Mem. Hosp. v.

Yerby, 373 S.E.2d 749, 750 (Ga. 1988)). Referencing Ga. R. Prof. Conduct

1.10(c), the Court explained that one attorney’s conflict of interest arising


39 A true and complete copy of Judge Richard W. Story’s Order, as cited, is
attached as Exhibit C.
40 A true and complete copy of Judge Richard W. Story’s Order, as cited, is

attached as Exhibit D.

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from a prior representation had to be imputed to all the attorneys in the firm,

subjecting the entire firm to disqualification. Marcelino, Document 74 at 14

(quoting Rescigno v. Vesali, 703 S.E.2d 65, 69 (Ga. Ct. App. 2010)). Applying

this standard, the Court held that the conflicted attorney tainted Busch

Slipakoff, carrying the conflict with him and precluding all of Busch Slipakoff

from acting as the plaintiff’s lawyers. Marcelino, Document 74 at 14.

      Similar to Marcelino, and for the reasons explained more fully in part I

of this Memorandum, Slipakoff is tainted by his prior representation of

Sionic, the subject matter of which is substantially related to the subject

matter of Berkeley’s Complaint. And like Marcelino, that taint has carried

into Busch Slipakoff, making Busch Slipakoff’s disqualification in this matter

equally necessary.

   III.   The Complaint necessarily implicates Slipakoff as both a fact

          witness and prior counsel, disqualifying both him and Busch

          Slipakoff from representing Berkeley.

      The federal courts, including this Court, have the power and

responsibility to regulate the conduct of attorneys who practice before them.

Amoco, 568 F.Supp. at 44. In exercising this responsibility, the federal courts

prohibit any lawyer from disadvantaging a prior representation in favor of a

new and more lucrative conflicting representation. Dodson v. Floyd, 529

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F.Supp. 1060-1061; Marcelino, Document 74 at 14. When a disqualified

lawyer is also a necessary witness related to the facts of a prior

representation, that disqualification will be equally imputed to all lawyers in

the conflicted lawyer’s firm, even though not party to the prior

representation. Amoco, 568 F.Supp. at 46; Ga. R. Prof. Conduct 3.7.

      As previously discussed in Part I of this Memorandum, Slipakoff’s prior

status as Sionic’s outside general counsel taints Busch Slipakoff’s current

representation of Berkeley on the subject matter of the Complaint, thereby

disqualifying Busch Slipakoff as Berkeley’s lawyers in this suit. As also

discussed, the Complaint alleges purported schemes, devices, and deceptive

promotional efforts in which Slipakoff was himself personally involved, and

even alleges as fraudulent the very stock donations on which Slipakoff’s law

firm advised Sionic.

      As an inherent part of the transactions and events upon which

Berkeley’s Complaint depends, Slipakoff is a natural and necessary fact

witness. And because Slipakoff is prohibited from working against Sionic on

the subject matter of his prior representation of Sionic, so is Busch Slipakoff

equally prohibited. Respectfully, Busch Slipakoff should be disqualified from

continuing to act as Berkeley’s lawyers.




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                               CONCLUSION

      To protect the integrity of the legal profession and client confidences,

and to eliminate likely harm to Sionic, the law and Georgia Rules of

Professional Conduct require disqualification of any lawyer who purports to

represent a current client against a former client on substantially the same

subject matter, together with all lawyers with whom that conflicted lawyer

may be associated. Such is the case here.

      Busch Slipakoff—the law firm Slipakoff serves as Managing Partner

and Corporate and Securities Chair—has brought suit on behalf of Berkeley

against Sionic alleging fraud founded on matters on which Slipakoff was

previously engaged as Sionic’s prior counsel. The Complaint even references

purported schemes, devices and deceptive promotional efforts in which

Slipakoff was himself personally involved in 2015 and 2016 incident to his

representation of Sionic.

      Given these well-established facts, Busch Slipakoff cannot represent

Berkeley in this matter. Slipakoff has tainted that representation, and is a

likely fact witness. Respectfully, this Court should grant this Motion.




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                                Respectfully submitted,

                                /s/ Simon Jenner
                                Simon Jenner, Esq.
                                Georgia Bar No. 142588
                                simon.jenner@bakerjenner.com
                                Richard J. Baker, Esq.
                                Georgia Bar No. 033879
                                rick.baker@bakerjenner.com
                                Lynn Chen Woodward, Esq.
                                Georgia Bar No. 861150
                                lynn.woodward@bakerjenner.com
                                Baker Jenner LLLP
                                210 Interstate North Parkway, SE
                                Suite 100
                                Atlanta, GA 30339
                                Telephone: (404) 400-5955
                                Attorneys for Defendant




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           CERTIFICATE OF COMPLIANCE AND SERVICE

      I certify that the foregoing has been prepared in accordance with Local

Rule 5.1C, using Century Schoolbook, 13 point. I further certify that on

January 30, 2020, I electronically filed Memorandum in Support of Sionic

Mobile Corporation’s Motion to Disqualify Busch, Slipakoff, Mills &

Slomka, LLC as Counsel of Record with the Clerk of Court using the

CM/ECF system which will automatically send email notification of such filing

to the following attorneys of record:


                               Bryan E. Busch
                               Laura Mirmelli
                    Busch, Slipakoff, Mills & Slomka, LLC
                         Riverwood 100, 21st Floor
                          3350 Riverwood Parkway
                              Atlanta, GA 30339


                                            /s/ Simon Jenner
                                            Georgia Bar No. 142588
                                            Attorney for Defendant
                                            Baker Jenner LLLP
                                            210 Interstate North Parkway, SE
                                            Suite 100
                                            Atlanta, GA 30339
                                            Telephone: (404) 400-5955
                                            E: simon.jenner@bakerjenner.com




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